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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER * MDL NO. 07-1873
FORMALDEHYDE PRODUCTS *
LIABILITY LITIGATION * SECTION N(5)
*
* JUDGE ENGELHARDT
THIS DOCUMENT RELATES TO: +
ALL CASES , MAGISTRATE CHASEZ
*

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STATE OF LOUISIANA
PARISH OF ORLEANS

AFFIDAVIT

Before, me, the undersigned notary public came:
M. David Kurtz
who, after being duly sworn, did say:
1. My name is M. David Kurtz. I am a shareholder with the law firm of Baker Donelson
Bearman Caldwell & Berkowitz, P.C.
2. I was appointed as Liaison Counsel for the Contractor Defendants in the MDL
proceeding referenced above. The matters in this affidavit are based on my personal

knowledge.
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3. In this litigation, issues of both fact and law are strenuously contested as between the

plaintiffs, on the one hand, and the defendants generally, on the other hand. Defendants

would likely seek JNOV and/or appeal and/or otherwise vigorously oppose by all

appropriate means any adverse verdict that might be obtained by any plaintiff in any

matter now or formerly before this Court in the captioned MDL proceeding.

New Orleans, Louisiana, this 25" day of May, 2012.

Sworn and Subscribed before me,
This 25" day of May, 2012.

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NOTARY PUBLIC

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